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                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF CONNECTICUT
                                     NEW HAVEN DIVISION

 In re:                                                    )    Chapter 11
                                                           )
 CLINTON NURSERIES, INC.,                                  )    Case No. 17-31897 (AMN)
 CLINTON NURSERIES OF MARYLAND, INC.,                      )    Case No. 17-31898 (AMN)
 CLINTON NURSERIES OF FLORIDA, INC. and                    )    Case No. 17-31899 (AMN)
 TRIEM LLC,                                                )    Case No. 17-31900 (AMN)
                                                           )    (Jointly Administered Under
                   Debtors.                                )    Case No. 17-31897 (AMN))
                                                           )
 _____________________________________________
 CLINTON NURSERIES, INC.,                                  )
 CLINTON NURSERIES OF MARYLAND, INC.,                      )
 CLINTON NURSERIES OF FLORIDA, INC. and                    )
 TRIEM LLC,                                                )
                                                           )
                   Movants,                                )
                                                           )
              v.                                           )
                                                           )
 BANK OF THE WEST,                                         )
 WARREN RICHARDS, JR. and ANN                              )
 RICHARDS,                                                 )
 VARILEASE FINANCE, INC., and                              )
 SPRING MEADOW NURSERY, INC.,                              )
                                                           )
                   Respondents.                            )


              NOTICE OF APPEARANCE, REQUEST FOR ALL NOTICES,
            AND DEMAND FOR SERVICE OF ALL PLEADINGS AND FILINGS

          PLEASE TAKE NOTICE that the undersigned hereby enters an appearance on behalf of

Whittemore Company, Inc., an interested party in the above styled and numbered Chapter 11

bankruptcy case, as attorney for such party, and hereby requests notice of all hearings and

conferences in such case and makes demand for service of copies all pleadings, filings, notices,
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and other actions and papers pursuant to Fed. R. Bankr. P. 2002 and 9010(b), and Bankruptcy

Local Rule 2002. All such notices should be addressed as follows:

                             Lawrence S. Grossman [ct15790]
                        HURWITZ, SAGARIN, SLOSSBERG & KNUFF, LLC
                                  147 North Broad Street
                                    Milford, CT 06460
                           Tel: 203-877-8000/Fax: 203-878-9800
                                 LGrossman@hssklaw.com

       PLEASE NOTE FURTHER that the foregoing request and demand includes not only the

notices, pleadings, filings, and papers referred to in the above-referenced Bankruptcy Rules, but

also includes, without limitation, any and all plans, letters, correspondence, applications, motions,

complaints, objections, claims, demands, hearing, notices, or requests, whether formal or informal,

whether oral or in writing, which may be filed, submitted, transmitted, or conveyed to the

Bankruptcy Clerk, Bankruptcy Court, or Bankruptcy Judge (as such terms are used and defined in

Bankruptcy Rule 9001) in connection with this bankruptcy case and any proceedings related

thereto or arising therefrom.

       Dated at Milford, Connecticut, this 16th day of February, 2018.


                                              INTERESTED PARTY,
                                              WHITTEMORE COMPANY, INC.



                                          By: /s/ Lawrence S. Grossman
                                              Lawrence S. Grossman [ct15790]
                                              HURWITZ, SAGARIN, SLOSSBERG & KNUFF, LLC
                                              147 North Broad Street
                                              Milford, CT 06460
                                              Tel: 203-877-8000/Fax: 203-878-9800
                                              LGrossman@hssklaw.com




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 16th day of February, 2018, a copy of the foregoing Notice of

Appearance was filed electronically and served by mail on anyone unable to accept electronic

filing. Notice of this filing will be sent by e-mail to all parties by operation of the court’s

electronic filing system or by mail to anyone unable to accept electronic filing as indicated on the

Notice of Electronic Filing. Parties may access this filing through the court’s CM/ECF System.



                                                By: /s/ Lawrence S. Grossman
                                                        Lawrence S. Grossman




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